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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. EAKIN

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. EAKIN2021 OK 53Case Number: SCBD-7146Decided: 10/25/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 53, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
WILLIAM WAYNE EAKIN, Respondent.



ORDER OF IMMEDIATE INTERIM SUSPENSION



¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Amended Information and Order for Judgment and Sentence in State of Oklahoma v. William W. Eakin, CF-2019-6, Jefferson County District Court, State of Oklahoma. Respondent was found guilty of 3 crimes: Offering Fraudulent Evidence, a felony, in violation of 21 O.S. §451; Offering False Instrument for Recordation, a felony, in violation of 21 O.S. §463; and Conspiracy, a felony, in violation of 21 O.S. §421. The District Court sentenced Eakin to pay a fine of $250.00 plus all court costs and assessments, plus juror costs of 13 jurors x $20; to pay a fine of $250 plus court costs and assessments; and to pay a fine of $250.00 plus court costs and assessments.

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that William W. Eakin is immediately suspended from the practice of law. William W. Eakin is directed to show cause, if any, no later than November 9, 2021, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until November 29, 2021, to respond.

¶3 DONE BY ORDER OF THE SUPREME COURT in conference on October 25, 2021.


/S/ACTING CHIEF JUSTICE


Kane, V.C.J., Kauger, Winchester, Edmondson, Combs, Gurich, Rowe and Kuehn, JJ., concur;

Darby, C.J., not present.


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	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
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	Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 O.S. 421, Conspiracy - Definition - PunishmentCited
&nbsp;21 O.S. 451, Offering Forged or Fraudulent EvidenceCited
&nbsp;21 O.S. 463, Offering False or Forged Instruments for RecordationCited


	
	








				
					
					
				

		
		




	
		
			
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